                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 PARAGON COMPONENT                                    )
 SYSTEMS, LLC,                                        )
                                                      )
                 Plaintiff,                           )
                                                      )
 v.                                                   )     Case No.: 1:24-cv-00246-CEA-CHS
                                                      )
 QUALTIM, INC., CENTER FOR                            )
 BUILDING INNOVATION, LLC,                            )
 DRJ ENGINEERING, LLC,                                )
 INSPIRED PURSUITS, LLC,                              )
 KIRK GRUNDAHL, and                                   )
 SUZANNE GRUNDAHL,                                    )
                                                      )
                 Defendants.                          )

                         Report of the Parties’ Rule 26(f) Planning Meeting

      On October 14, 2024, the parties participated in a Rule 26(f) conference via video conference.

 James Williams and Stephen Kabakoff represented Plaintiff Paragon Component Systems, LLC

 (“Paragon”). Mayville La Rosa represented Defendants Qualtim, Inc., Center for Building

 Innovation, LLC, DrJ Engineering, LLC, Inspired Pursuits, LLC, Kirk Grundahl, and Suzanne

 Grundahl (“Defendants”). The parties respectfully submit this report and joint discovery plan

 pursuant to Fed. R. Civ. P. 26(f) and the Court’s October 2, 2024, Order (Doc. 24).

      a) Initial Disclosures: The parties will exchange initial disclosures required by Fed. R. Civ.

         P. 26(a)(1) on or before November 15, 2024.

      b) Subjects of Discovery: The parties anticipate that discovery will be needed on the

         following subjects, among others1:



 1
  By identifying potential subjects of discovery, the parties do not stipulate the relevance or admissibility
 of discovery relating to any such topic(s) and expressly reserve the right to object to the scope of discovery


                                     1
Case 1:24-cv-00246-CEA-CHS Document 34 Filed 10/23/24 Page 1 of 5 PageID #: 339
            1. The parties’ course of dealing and course of performance relating to the Paragon
               Software;

            2. The parties’ understanding of the nature of their relationship as related to the
               Paragon Software;

            3. Development of the Paragon Software, including from the time Defendants’ were
               engaged by Paragon to the present;

            4. The business relationship and course of dealing between Daniel Holland and
               Defendants as related to the Paragon Software;

            5. Patent, trade secret, trademark, copyright, and other intellectual property rights as
               related to the Paragon Software;

            6. Defendants’ engineering licensure in the State of Tennessee and related services
               performed;

            7. Course of dealing and course of performance between Paragon and Clearspan Inc.
               relating to the Paragon Software at issue;

            8. Paragon’s succession plan implementation; and

            9. Business operations of each party including but not limited to a list of all of the
               party’s employees with their job descriptions and subcontractors with their
               independent contractor agreements.

    c) Electronically Stored Information: The parties agree to electronically scan hard copy

        documents for production. The parties further agree that the disclosure or discovery of

        electronically stored information should be handled as follows: To minimize expenses, the

        parties will request the production of ESI with as much specificity as possible. The

        production of ESI will be limited to reasonably accessible data from live, readily accessible

        servers and hard drives in the parties’ possession, custody, or control. With respect to

        emails, the parties agree to cooperate in good faith to attempt to reach agreement about

        whether electronic searches are necessary and, if such searches are to be performed, the



 under the Federal Rules of Civil Procedure and the admissibility of any information adduced during
 discovery pursuant to the Federal Rules of Evidence.


                                     2
Case 1:24-cv-00246-CEA-CHS Document 34 Filed 10/23/24 Page 2 of 5 PageID #: 340
       search methodology to be used (including, without limitation, appropriate timeframes,

       custodians, and search terms). Any negotiations regarding search methodology will not

       delay the production of other ESI or non-ESI documents, materials, or information that is

       responsive to a discovery request and otherwise required to be produced pursuant to the

       Federal Rules of Civil Procedure. The parties have agreed to produce ESI in a regularly

       available format (PDF or TIFF). The parties agree to discuss in good faith other issues,

       including but not limited to the production of native files and metadata, as those issues

       arise. The default standards described in Federal Rule of Civil Procedure 26(e) will

       otherwise apply.

    d) Protective Order. The parties have discussed the extent to which they anticipate

       confidential, proprietary, and privileged information will be at issue in this action. The

       parties will endeavor to agree to submit for the Court’s consideration a proposed agreed

       protective order that will cover confidential and proprietary information.

    e) Start/End Discovery. In addition to mandatory initial disclosures, supra, Paragon requests

       early jurisdictional discovery to oppose Defendants’ Motion to Dismiss for Lack of

       Jurisdiction. (Doc. 21). Paragon plans to file a motion requesting a 75-day period for

       limited jurisdictional discovery, and Defendants will oppose the same. The Court’s

       resolution of Paragon’s forthcoming motion will likely impact the timeframe for

       completion of discovery in this case. The parties anticipate needing (180) days from the

       date of the Court’s decision on Defendants’ Motion to Dismiss and Transfer Venue to

       complete all fact discovery.

    f) Interrogatories. The number of interrogatories will be limited to twenty-five (25) per party

       as set forth in Fed. R. Civ. P. 33, unless otherwise ordered by the Court for good cause




                                     3
Case 1:24-cv-00246-CEA-CHS Document 34 Filed 10/23/24 Page 3 of 5 PageID #: 341
       shown. Each party shall have thirty (30) days from receipt of interrogatory requests to

       provide written responses to the requesting party.

    g) Requests for Admission. The parties have agreed to limit the number of requests for

       admission to forty (40) requests unless the requesting party can show that additional

       requests are necessary and reasonable, although the parties agree no limit shall apply to

       requests for admission limited to authentication of documents. Each party shall have thirty

       (30) days from its receipt of requests for admission to provide written responses to the

       requesting party.

    h) Depositions. The number of depositions will be limited to 10 for Plaintiff and 10 for

       Defendants, collectively, as set forth in Fed. R. Civ. P. 30. Further, the length of depositions

       will be limited to 7 hours as set forth in Fed. R. Civ. P. 30.

    i) Other Orders. The parties anticipate filing a proposed agreed protective order, and

       Paragon anticipates filing a motion for limited jurisdiction discovery, supra. No other

       orders need to be entered at this time by the Court under Rule 26(c), nor do the parties have

       any other proposals at this time with respect to the Court entering an order under Rule 16(b)

       or 16(c).

    j) Settlement. The parties have discussed the potential for settlement and agree that it is

       unlikely to occur.

    k) Trial. The parties estimate that trial of this case will require five (5) days. The parties

       suggest a trial date in December 2025.

    l) Other matters. N/A.




                                     4
Case 1:24-cv-00246-CEA-CHS Document 34 Filed 10/23/24 Page 4 of 5 PageID #: 342
                                          Respectfully submitted by:

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                                     5
Case 1:24-cv-00246-CEA-CHS Document 34 Filed 10/23/24 Page 5 of 5 PageID #: 343
